     Case 3:16-cv-00710-DMS-MSB Document 15 Filed 11/07/18 PageID.46 Page 1 of 3


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8                            UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    IN RE TRANSFER OF CASES FROM                   TRANSFER ORDER
      MAGISTRATE JUDGE ROBERT N.
12
      BLOCK TO MAGISTRATE JUDGE
13    MICHAEL S. BERG
14
15         IT IS HEREBY ORDERED that the following cases are transferred from the
16   calendar of the Honorable Robert N. Block, to the calendar of the Honorable Michael S.
17   Berg, for all further proceedings. All settlement conference dates set before Magistrate
18   Judge Block, if any, shall be transferred to the calendar of Magistrate Judge Berg, to the
19   extent not already transferred. All other dates or deadlines, if any, remain unchanged.
20         1.    15-cv-01501-AJB, Lorusso v. Celladon Corporation et al
21         2.    15-cv-01529-AJB, Jacobs v. Celladon Corporation et al
22         3.    15-cv-01637-JLS, Kaseberg v. Conaco, LLC et al
23         4.    15-cv-01729-JAH, Desarrollo Urbanistico Del Pacifico, S.A. De C.V. v.
24               Genomics Reference Laboratory US, LLC et al
25         5.    15-cv-02235-LAB, Sightler v. City of San Diego et al
26         6.    16-cv-00391-JAH, Nguyen v. United States of America
27         7.    18-cv-01193-JAH, Nguyen v. United States of America
28         8.    16-cv-00485-JAH, Price v. Harris


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     Case 3:16-cv-00710-DMS-MSB Document 15 Filed 11/07/18 PageID.47 Page 2 of 3


1          9.    16-cv-00651-DMS, Silva v. Credit One Bank, N.A.
2          10.   16-cv-00659-DMS, Gomez v. Credit One Bank, N.A.
3          11.   16-cv-00915-DMS, Dorsey v. Credit One Bank, N.A.
4          12.   16-cv-00658-DMS, Lawrence v. Credit One Bank, N.A.
5          13.   16-cv-00672-DMS, Chism v. Credit One Bank, N.A.
6          14.   16-cv-00706-DMS, Garcia v. Credit One Bank, N.A.
7          15.   16-cv-00710-DMS, Bare v. Credit One Bank, N.A.
8          16.   16-cv-00904-DMS, Byers v. Credit One Bank, N.A.
9          17.   16-cv-00908-DMS, Harris v. Credit One Bank, N.A.
10         18.   16-cv-00940-DMS, Jones v. Credit One Bank, N.A.
11         19.   16-cv-01369-H, Feist et al v. Petco Animal Supplies, Inc. et al
12         20.   16-cv-02751-BAS, Platypus Wear, Inc. v. Bad Boy Europe LTD. et al
13         21.   17-cv-02221-LAB, Furiani v. Berryhill
14         22.   17-cv-02273-BEN, Carranza-Villalobos v. Berryhill
15         23.   18-cv-00201-GPC, Norwood v. Commissioner of Social Security
16         24.   18-cv-01499-AJB, Cooper v. Berryhill
17         25.   07-cv-00250-BEN, C&D Motorhomes, LCC v. Monaco Coach Corporation
18               et al
19         26.   09-cv-01896-JM, Jones v. Cate
20         27.   14-cv-00414-JLS, Pride v. Straga
21         28.   15-cv-00226-BAS, Securities and Exchange Commission v. Total Wealth
22               Management, Inc. et al
23         29.   15-cv-02460-AJB, United States of America v. Peacock et al
24         30.   16-cv-00724-GPC, Embotteladora Electropura S.A. de C.V. v. Accutek
25               Packaging Equipment Company, Inc. et al
26         31.   16-cv-02100-BTM, Wilson v. Cuevas et al
27         32.   16-cv-02300-MMA, Loftis et al v. Ramos et al
28         33.   16-cv-02412-CAB, Arellano v. Blahnik


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     Case 3:16-cv-00710-DMS-MSB Document 15 Filed 11/07/18 PageID.48 Page 3 of 3


1          34.   16-cv-02472-H, Sundquist et al v. Unbiquity, Inc. et al
2          35.   16-cv-02598-L, AG v. South Bay Dreams Cooperative, Inc.
3          36.   16-cv-02644-WQH, Cheap Easy Online Traffic School et al v. Peter L.
4                Huntting & Co., Inc. et al
5          37.   17-cv-01584-BEN, Soto v. Commissioner of Social Security
6          38.   17-cv-02298-GPC, Webb v. Commissioner of Social Security
7          39.   18-cv-00145-CAB, Dierker v. Berryhill
8          40.   18-cv-00502-AJB, Pacheco v. Berryhill
9
10   Dated: November 7, 2018
                                                 ________________________________
11
                                                 ROBERT N. BLOCK
12                                               United States Magistrate Judge
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